           Case 1:22-cv-10016-LAK Document 183 Filed 06/08/23 Page 1 of 2




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------------------------------------)(
E. JEAN CARROLL,                                                         Civil Action No.:
                                                                         22-cv-1 0016
                                    Plaintiff,

        -against-                                                        NOTICE OF MOTION

DONALD J. TRUMP,

                                    Defendant.
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         PLEASE TAKE NOTICE that upon the annexed Declaration of Matthew G. DeOreo with

exhibits and the accompanying Memorandum of Law, Defendant will move this Court, before the

Honorable Lewis A. Kaplan, U.S.D.J., in the United States Courthouse, Southern District of New

York, 500 Pearl Street, New York, N.Y. 10007, on such day when counsel may be heard, for an

Order, pursuant to Fed. R. Civ. P. 59, granting a new trial or remittitur, with such other and further

relief as the Court deems just and proper.
       Case 1:22-cv-10016-LAK Document 183 Filed 06/08/23 Page 2 of 2




Dated: New York, New York
       June 8, 2023




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TO:   All counsel by ECF




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